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                                     UNrrEo Srares DrsrRrcr Counr
                                  NORTHERN DISTRICT OF TEXAS LUBBOCK DIVISION

UNITED STATES OF AMERICA                                                5      JUDGMENT IN A CRIMINAL CASE
                                                                        5
                                                                        5
                                                                        s      Case Number: 5: I       9-CR-00076-H-BQ(l)
ERIC DION WARREN                                                        5      USM Number: 59004-177
                                                                        s      Lara M. Wynn
                                                                               Dcfendant s Aftomev
                                                                        5
THE DEFENDANT:
n    pleaded guilty to count(s)
     pleaded guilty to count(s) before a U.S. Magistate
x    Judge, which was accepted by the court.                   I of the indictment filed      June 20, 2020.
     pleaded nolo contendere to count(s) which was
tr   accepted by the court
tr   was found guilty on count(s) after a plea ofnot guilty


The defendant is adjudicated guilty ofthese offenses:
Title & Section / Nature ofOffense                                                                   Offense Ended          Count
l8 lJ.S.C. ti 2ll3(a) BANK ROBBERY                                                                   06t07/20],9            I




The defendant is sentenced as provided in pages 2 through 7 ofthis judgment. The sentence is imposed pumuant to the Sentencing
Reform Act of 1984.

E The defendant has been found not guilty on count(s)
! Count(s) tr is E Remaining count(s) are dismissed on the motion ofthe United Slales
         It is ordered that the defendant must notiry the United States attorney for this district within 30 days ofany change ofname,
residence, or mailing address until all fines. restitution, costs, and special assessments imposed by this judgment are fully paid. If
ordered to pay restitution, the defendant must notiry the court and United States attomey of material changes in economic
circumstances.


                                                                 March 9 2021
                                                                 Date of lmposition of Judgmenl




                                                                                             ()r         /(*
                                                                 S          ofJudgc

                                                                        es Weslev Hendrix
                                                                     nited States District Judse
                                                                 Name and 'l itle ofJudge


                                                                 March 9, 2021
                                                                 Datc
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 AO 2458 (Rev. TXN 9/19) Judgmenr in           a   Criminat Case
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 DEFENDANT:                         E,RIC DION WARREN
 CASE NUMBER:                       5:I   9-CR-00076-H-BQ( 1 )


                                                                     IMPRISONMENT
The defendant is hereby committed to the custody ofthe United States Bureau
                                                                            ofprisons to be imprisoned for a total term of:

240 months as to count         l.
                          This sentence shall run concurrently with any sentence imposed in Case No. 2019-417,572 pending
                                                                                                                          in the
3646 District Couft, Lubbock County, Texas.


 X        The court makes the following recommendations to the Bureau of Prisons: Incarceration at FMC
                                                                                                       Fort Worth, Texas.

The Court recommends that, while incarcerated, the defendant receive appropriate substance-abuse
                                                                                                   and mental-health treatment, but
the Court did not lengthen the defendant's prison term to promote rehabilitation. SeeTqpiay. lJnited
                                                                                                     Stales,564 u.s. 3l9 (201l).


X         The defendant is remanded to the custody ofthe United States Marshal.
tr        The defendant shall surender Io the United States Marshal for this district:


             E at                                                 E a.m. tr p.-.                  on

             tr    as   notified by the United States Marshal.

tr        The defendant shall sunender for service ofsentence at the institution designated by the Bureau of prisons


             tr   before 2 p.m. on
             tr   as    notified by the United States Marshal.
             n    as    notified by the Probation or Pretrial Services Office



                                                                           RETURN
I have executed thisjudgment as follows



            Defendant delivered on                                               to


at   _,                                             with   a   certified copy of this judgment.




                                                                                                       TJNITED STATDS MARSHAL


                                                                                                                 BV
                                                                                                   DTJPUTY UNITED STATES MARSTIAL
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AO 2458 (Rev. TXN 9/19) Judgment in   a   Criminal Case
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DEFENDANT:                 ERIC DION WARREN
CASE NUMBER                  9-CR-00076-H-BQ( l)
                           s:I



                                                   SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term
                                                                                          of: Three (3) years.


                                             MANDATORY CONDITIONS
l.   You must not commit another federal, state or local crime.
2,   You must not unlawfully possess a contolled substance.
3.   You must refrain from any unlawful use ofa controlled substance. You must submit to one drug test within l5
                                                                                                                 days ofrelease
     from imprisonment and at least two periodic drug tests thereafter, as determined by the court.

           f]   The above drug testing condition is suspended, based on the court's determination that you pose a low risk
                                                                                                                           of future
                substance abuse, (check if applicable)
4. 5      You must make restitution in accordance with l8 U.S.C. $$ 3663 and 3663A or any other statute authorizing a sentence
          of restitution. (check if applicoble)
5. X      You must cooperate in the collection ofDNA as directed by the probation officer.    (c& eck   ifappticable)
6. 3      You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. g 20901, et
          seq.) as directed by the probation officer, the Bureau ofPrisons, or any state sex offender registration ageniy in which
          you reside, work, are a student, or were convicted of a qualifoing offense. (check if appticable)

7. f]     You must participate in an approved program for domestic vi olence. (check if applicable)


         You must comply with the standard conditions that have been adopted by this court as well as \ryith any additional
conditions on the attached page.
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DEFENDANT:                 ERIC DION WARREN
CASE NUMBER                5: 1 9-CR-00076-H-BQ( I )


                               STANDARD CONDITIONS OF SUPERVISION

As part ofyour supervised release, you must comply with the following standard conditions of supervision. These conditions are
imposed because they establish the basic expectations for your behavior while on supervision and identifr the minimum tools needed
by probation officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1. You must report to the probation office in the federal judicial disrict where you are authorized to reside within 72 hours ofyour
release from imprisonment, unless the probation oflicer instructs you to report to a different probation office or within a different time
fiame.
2. After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
when you must report to the probation officer, and you must report to the probation officer as instructed.
3. You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission fiom
the court or the probation officer.
4. You must answer truthfully the questions asked by your probation officer.
5. You must live at a place approved by the probation o{ficer. Ifyou plan to change where you live or anything about your living
arrangements (such as the people you live with), you must notiry the probation omcer at least l0 days before the change. tf notifuing
the probation officer in advance is not possible due to unanticipated circumstances, you must notiry the probation oflicer within 72
hours ofbecoming aware ofa change or expected change.
6. You must allow the probation officer to yisit you at any time at your home or elsewhere, and you must permit the probation officer
to take any items prohibited by the conditions ofyour supervision that he or she observes in plain view.
7. You must work full time (at least 30 hours per week) at a lawful type ofemployment, unless the probation officer excuses you fiom
doing so. Ifyou do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
you from doing so. lfyou plan to change where you work or anything about your work (such as your position or yourjob
responsibilities), you must notiry the probation omcer at least 10 days before the change. If notifuing the probation officer at least l0
days in advance is not possible due to unanticipated c cumstances, you must notifo the probation officer within 72 hours of
becoming aware ofa change or expected change.
 8. You must not communicate or interact with someone you know is engaged in criminal activity. lfyou klow someone has been
convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission ofthe
probation officer.
b. Ifyou are arrested or questioned by a law enforcement offtcer, you must notiry the probation officer within 72 hours.
10. Vou must not own, porrarr, or hive access to a flLrearm, ammunition, destructive device, or dangerous weapon
                                                                                                                    (i.e., anything that
was designed. or was modified for, the specific purpose ofcausing bodily injury or death to another  person such as  nunchakus or
tasers).
 I l. you must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant
without first getting the permission ofthe court.
12. Ifthe pro-batioriomcer determines that you pose a risk to another person (including an organization), the probation officer may
require you to notif, the person about the risk and you must comply with thal instruction. The probation offic€r may contact the
person and confirm that you haYe notified the person about the risk
l3. you must follow the instructions ofthe probation officer related to the conditions of supervision.

U.S. Probation Office Use OnlY

A U.S. probation officer                                                                                 with a
                               has instructed me on the conditions specified by the court and has provided me
                                                                                   information regarding these
written copy of this judgment containing these conditions. I understand additional
conditions is available at \ ,\4'W.txnp uscourts. qov

Defendant's Signature                                                                               Date
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DEFENDANT:                EzuCDIONWARREN
CASENUMBER:               5:19-CR-00076-H-Be(l)

                                SPECIAL CONDITIONS OF SUPERVISION

         1.      The defendant shall participate in outpatient mental health treatment services
                                                                                                as directed by the
                 probation officer until successfully discharged. These services may include medications
                 prescribed by a licensed physician. The defendant shall contribute to the costs
                                                                                                 of services
                 rendered (copayment) at the rate of at least $25.00 per month.

        2.       The defendant shall participate in an outpatient program approved by the probation officer
                                                                                                              for
                 treatment ofnarcotic, drug, or alcohol dependency that will include testing for the detection
                                                                                                               of
                 substance use, abstaining from the use ofalcohol and all other intoxicantJduring and after
                 completion of treatment, and contributing to the costs ofservices rendered (copiyment) at the
                 rate ofat least $25.00 per month.
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AO 2458 (Rev. TXN 9/19) Judgment in a Criminal Case
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DEFENDANT:                     ERICDIONWARREN
CASENUMBER:                    5:19-CR-00076-H-Be(t)

                                             CRIMINAL MONETARY PENALTIES
          The defendant must pay the total criminar monetary penalties under the schedure ofpayments page.

                           Assessment                Restitution                  Fine        AVAA Assessment*                JYTA Assessment**
TOTALS                         s100.00                      $.00                   $.00                          $.00                           $.00

E     The determination ofrestitution is deferred until   An Amended Judgment in a Criminal Cqse (AO245C) will be entered,
      aft er such determination.
tr    The defendant must make restitution (including community restitution) to the following payees in the amount
                                                                                                                  listed below.

          If thc   defendant makes a partial payment, each payee shall receive an approximately proportioned payment. However, pursuant
                                                                                                                                                  to lg
          U.S.C.    { 3664(i), all nonfederal victims musr be paid before the Unit€d Stads is paid.



tr    Restitution amount ordered pursuant to plea agreement $

tr    The defendant must pay interest on restitution and a flne ofmore than $2,500, unless the restitution or fine is paid in full before
      the fifteenth day after the date ofthejudgment, pursuant to lS U.S.C. g 3612(0. AU ofrhe paymenr options on the schedule of
      payments page may be subject to penalties for delinquency and default, pusuant to l8 U.S.C. g 3612(g).
tr    The court determined that the defendant does not have the ability to pay interest and it is ordered that:
      E     the interest requirement is waived for       the       E fine                                 tr    restitution
      E     the interest requirement for      the                  fl fine                                tr    restiturion is modified as follows:

* Amy, Vicky,   and Andy Child Pomography Victim Assistance Act      of20l8, pub. L. No. I t5-299.
** Justice for Victims oiTrafficking Act of20l5, Pub. L. No. I 14-22
*** Findings for the total amount of losses are required under Chapters   109A, I10, I l0A, and I 13A of Title l8 for offenses committed on or after
September 13. 1994, but before   April 23.   1996.
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DEFENDANT:                  ERIC DION WARREN
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                                                  SCHEDULE OF PAYMENTS
Having assessed the defendant's ability to pay, payment ofthe total criminalmonetary penalties is due as follows

A tr       Lump sum payments      of$                                 due immediately, balance due


  E              than
           not later                                         ,   or

  E        in accordance tr C,                    tr D,       tr E, or                        tr      F below; or

B E        Payment to begin immediately (may be combined with tr C,                           tr      D,   or              tr    F below); or

C tr       Payment in equal                        (e.g., weeHy, monthly, quarterly) installments   of$                    over a period   of
                               (e.g., months or years), to commence      _           (e.g., 30 or 60 days) after the date of this judgmenu or

D E        Payment in equal 20 (e.g., weekly, monthly, quarterly) installments of $                        over a period   of
                               (e.g., monlhs or years), to commence                  (e.g., 30 or 60 days) after release from imprisonment
           to a term of supervision; or

E E        Payment during the term ofsupervised release will commence within                   (e.g., 30 or 60 days) after r€lease
           fiom imprisonment. The court will set the payment plan based on an assessment ofthe defendant's ability to pay at that
           time; or

F X        Special instructions regarding the payment ofcriminal monetary penalties:
           It is ordered that the D€fendant shall pay to the United States a sp€cial assessment of$100.00 for Count 1, which
           shall b€ due immediately. Said special assessment shall be paid to the Clerk, U.S. District Court.

Unless the court has expressly ordered otherwise, ifthisjudgment imposes imprisonment, payment of criminal monetary penalties is
due during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau ofPrisons'
Inmate Financial Responsibility Program, are made to the clerk ofthe court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed

E    Joint and Several
     See above for Defendant and Co-Defendant Names and Case Numbers (incladlry defendant nunber), Total Amount, Joint and
     Several Amount, and coresponding payee, ifappropriate.



tr   The defendant shall pay the cost ofprosecution.
tr   The defendant shall pay the following court cost(s):
tr   The defendant shall forfeit the defendant's interest in the following property to the United States:



Payments shall be applied in the following order: (l) assessment, (2) restitution principal, (3) restitution interest, (4) AVAA
assessment, (5) fine principal, (6) fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties, and (10) costs,
including cost ofprosecution and coud costs.
